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                            UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF MARYLAND

United States of America                     *
                                             *         Case No.: 1:19-cr-00449
v.                                           *
                                             *
Kenneth Ravenell, et al.,                    *
                                             *
               Defendants.                   *
                                             *
*      *       *      *        *     *       *         *     *      *      *      *      *         *

                                     MOTION TO SEAL

       Mr. Kenneth Ravenell, by and through undersigned counsel, hereby respectfully moves

this Court for leave to file under seal Mr. Ravenell’s Motion for Disclosure of the Government’s

Presentation to the Grand Jury Due to Prosecutorial Misconduct and all attached exhibits. Sealing

the motion and exhibits is warranted because the motion and exhibits contain certain witness-

identifying information, which the Court has determined should remain under seal at this time.

       WHEREFORE, Mr. Ravenell requests that the Court grant this Motion and place the

Motion for Disclosure of the Government’s Presentation to the Grand Jury Due to Prosecutorial

Misconduct and its attached exhibits under seal.



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August 26, 2021                     Respectfully submitted,

                                    SCHULTE ROTH & ZABEL LLP

                                       /s/ Pete White
                                    ___________________________________________________________________

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                                       /s/ Lucius Outlaw
                                    ___________________________________________________________________

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of August, 2021, I caused a copy of the Motion to

Seal and its Proposed Order to be made available to all counsel of record via ECF/PACER. True

and correct copies of the proposed sealed documents were emailed to all counsel of record.




                                                                  /s/ Lucius Outlaw
                                                           ___________________________________________________________________

                                                           Lucius Outlaw
                                                           Attorney for Kenneth Ravenell




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